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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )      Case No. 1:08CR00024-041
                                                )
v.                                              )             FINAL ORDER
                                                )
BRUCE EDWARD BAUMGARDNER,                       )      By: James P. Jones
                                                )      United States District Judge
                  Defendant.                    )


       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the defendant’s Motion to Amend (ECF No. 2993) is

GRANTED; the defendant’s “Motion for Joinder” (ECF No. 2994) is DENIED;

the United States’ Motion to Dismiss (ECF No. 3000) is GRANTED; the

defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255 (ECF No. 2952), as amended, is DENIED; and the § 2255

proceeding is stricken from the active docket of the court.

         Based upon the court’s finding that the defendant has not made the

requisite showing of denial of a substantial right, a certificate of appealability is

DENIED.

                                             ENTER: August 29, 2013

                                             /s/ James P. Jones
                                             United States District Judge
